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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

 UNITED STATES OF AMERICA,

                    Plaintiff,

       v.                                  CRIMINAL NO. 1:16CR09-01
                                                (Judge Keeley)

 DRAYLON ERIC BEECHAM,

                    Defendant.

     ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
       CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 99),
      ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

       On   May    4,    2016,   the   defendant,   Draylon      Eric   Beecham

 (“Beecham”), appeared before United States Magistrate Judge Michael

 J. Aloi and moved for permission to enter a plea of GUILTY to Count

 Seven of the Indictment. After Beecham stated that he understood

 that the magistrate judge is not a United States District Judge, he

 consented to tendering his plea before the magistrate judge.

 Previously,      this   Court   had   referred   the   guilty   plea   to   the

 magistrate judge for the purposes of administering the allocution

 pursuant to Federal Rule of Criminal Procedure 11, making a finding

 as to whether the plea was knowingly and voluntarily entered, and

 recommending to this Court whether the plea should be accepted.

       Based upon Beecham’s statements during the plea hearing and

 the testimony of Sgt. John Rogers, West Virginia State Police, the

 magistrate judge found that Beecham was competent to enter a plea,

 that the plea was freely and voluntarily given, that he was aware

 of the nature of the charges against him and the consequences of
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      ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
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 his plea, and that a factual basis existed for the tendered plea.

 On   May   4,   2016,   the   magistrate   judge   entered   a    Report   and

 Recommendation Concerning Plea of Guilty in Felony Case (“R&R”)

 (dkt. no. 99) finding a factual basis for the plea and recommending

 that this Court accept Beecham’s plea of guilty to Count Seven of

 the Indictment.

        The magistrate judge also directed the parties to file any

 written objections to the R&R within fourteen (14) days after

 service of the R&R. He further advised that failure to file

 objections would result in a waiver of the right to appeal from a

 judgment of this Court based on the R&R. The parties did not file

 any objections to the R&R.

        Accordingly, this Court ADOPTS the magistrate judge’s R&R,

 ACCEPTS Beecham’s guilty plea, and ADJUGES him GUILTY of the crime

 charged in Count Seven of the Indictment.

        Pursuant to Fed. R. Crim. P. 11(e)(2) and U.S.S.G. § 6B1.1(c),

 the Court DEFERS acceptance of the proposed plea agreement until it

 has received and reviewed the presentence report prepared in this

 matter.




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       ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
         CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 99),
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         Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

 follows:

         1.    The Probation Officer shall undertake a presentence

 investigation of Beecham, and prepare a presentence report for the

 Court;

         2.    The Government and Beecham are to provide their versions

 of the offense to the probation officer by June 3, 2016;

         3.    The presentence report is to be disclosed to Beecham,

 defense counsel, and the United States on or before August 4, 2016;

 however, the Probation Officer is not to disclose the sentencing

 recommendations made pursuant to Fed. R. Crim. P. 32(e)(3);

         4.    Counsel may file written objections to the presentence

 report on or before August 18, 2016;

         5.    The Office of Probation shall submit the presentence

 report with addendum to the Court on or before September 1, 2016;

 and

         6.    Counsel may file any written sentencing statements and

 motions for departure from the Sentencing Guidelines, including the

 factual      basis   from   the   statements   or   motions,   on   or   before

 September 15, 2016.


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     ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
       CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 99),
       ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

       The magistrate judge continued Beecham on bond pursuant to the

 Amended Order Setting Conditions of Release (dkt. no. 54) entered

 on February 18, 2016.

       The   Court   will   conduct    the   sentencing   hearing    for   the

 defendant on Friday, September 23, 2016 at 1:00 P.M. at the

 Clarksburg, West Virginia point of holding court.

       It is so ORDERED.

       The Clerk is directed to transmit copies of this Order to

 counsel of record, the defendant and all appropriate agencies.

 DATED:    May 20, 2016


                                      /s/ Irene M. Keeley
                                      IRENE M. KEELEY
                                      UNITED STATES DISTRICT JUDGE




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